                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE MIDDLE DISTRICT OF TENNESSEE


LEAGUE OF WOMEN VOTERS OF
TENNESSEE, et al.,

               Plaintiffs,

v.                                              No. 3:19-cv-385
                                                Hon. Aleta A. Trauger
TRE HARGETT, in his official capacity as
Secretary of State of the State of Tennessee,
et al.,

               Defendants.


               MEMORANDUM IN SUPPORT OF PLAINTIFFS’ MOTION
                     FOR A PRELIMINARY INJUNCTION




     Case 3:19-cv-00385 Document 54-1 Filed 08/30/19 Page 1 of 48 PageID #: 378
                                                       TABLE OF CONTENTS
TABLE OF AUTHORITIES .......................................................................................................... ii
I.            PRELIMINARY STATEMENT ........................................................................................ 1
II.           STATEMENT OF FACTS ................................................................................................. 3
      A.      Plaintiffs’ Engagement in Voter Registration Activities .................................................... 3
           1. Plaintiffs’ Voter Registration Efforts ............................................................................... 3
           2. Plaintiffs’ Public Communications .................................................................................. 6
      B.      The Challenged Law’s Burdensome, Confusing Provisions .............................................. 8
           1. Section 2-2-142: Criminal Penalties Tied to Voter Registration Drive Regulations ....... 8
           2. Section 2-2-143: Substantial Fines for Submission of “Incomplete” Forms ................. 10
           3. The Unpaid Exception.................................................................................................... 10
           4. Section 2-19-145: Compelled Statements Coupled with Criminal Penalties................. 11
      C.      The Law’s Severe Impact on Plaintiffs and their Voter Registration Efforts ................... 11
           1. Burdens and Harms Caused by Sections 2-2-142 and 2-2-143: Criminal Penalties
              Tied to Voter Registration Drive Regulations; Substantial Fines for Submission of
              “Incomplete” Forms ....................................................................................................... 11
           2. Burdens and Harms Caused by Section 2-19-145: Compelled Statements Coupled
              with Criminal Penalties.................................................................................................. 13
III.          ARGUMENT .................................................................................................................... 15
      A.      Standard of Review ........................................................................................................... 15
      B.      Plaintiffs Have Several Independent Bases for Standing. ................................................ 16
      C.      Plaintiffs Have a Strong Likelihood of Success on the Merits. ........................................ 18
           1. Plaintiffs Are Likely To Succeed on Their First Amendment Speech and
              Association Claim. ......................................................................................................... 18
           2. Plaintiffs Are Likely To Succeed on Their First Amendment Compelled Speech
              Claim.............................................................................................................................. 26
           3. Plaintiffs Are Likely To Succeed on Their First Amendment Overbreadth Claim. ...... 28
           4. Plaintiffs Are Likely To Succeed on Their Due Process Vagueness Claim. ................. 30
           5. Plaintiffs Are Likely To Succeed on Their First and Fourteenth Amendment
              Claims that the Law Unduly Burdens the Right To Vote. ............................................. 34
      D.      Plaintiffs Will Suffer Irreparable Harm Absent an Injunction.......................................... 37
      E.      Issuance of the Injunction Will Not Cause Substantial Harm to Others........................... 39
      F.      The Public Interest Is Served by the Issuance of an Injunction. ....................................... 40
IV.           CONCLUSION ................................................................................................................. 40



                                         i
      Case 3:19-cv-00385 Document 54-1 Filed 08/30/19 Page 2 of 48 PageID #: 379
                                               TABLE OF AUTHORITIES

Cases
Action NC v. Strach,
  216 F. Supp. 3d 597 (M.D.N.C. 2016) ..................................................................................... 38
American Association of People with Disabilities v. Herrera,
  690 F. Supp. 2d 1183 (D.N.M. 2010) ................................................................................. 20, 36
American Civil Liberties Union of Ohio Foundation, Inc. v. Ashbrook,
  375 F.3d 484 (6th Cir. 2004) .................................................................................................... 18
Anderson v. Celebrezze,
  460 U.S. 780 (1983) .................................................................................................................. 34
Arizona Free Enterprise Club’s Freedom Club PAC v. Bennett,
  564 U.S. 721 (2011) .................................................................................................................. 22
Baker v. Adams County/Ohio Valley School Board,
  310 F.3d 927 (6th Cir. 2002) .................................................................................................... 37
Blaylock v. Cheker Oil Co.,
  547 F.2d 962 (6th Cir. 1976) .............................................................................................. 16, 39
Bonnell v. Lorenzo,
  241 F.3d 800 (6th Cir. 2001) .................................................................................................... 16
Brinkman v. Budish,
  692 F. Supp. 2d 855 (S.D. Ohio 2010) ..................................................................................... 37
Buckley v. American Constitutional Law Foundation,
  525 U.S. 182 (1999) ................................................................................................ 19, 22, 26, 36
Burdick v. Takushi,
  504 U.S. 428 (1992) .................................................................................................................. 34
Carey v. Wolnitzek,
  614 F.3d 189 (6th Cir. 2010) .................................................................................................... 29
Chabad of S. Ohio & Congregation Lubavitch v. City of Cincinnati,
  363 F.3d 427 (6th Cir. 2004) .................................................................................................... 37
Charles H. Wesley Education Foundation, Inc. v. Cox,
  324 F. Supp. 2d 1358 (N.D. Ga. 2004) ..................................................................................... 38
Citizens for Tax Reform v. Deters,
  518 F.3d 375 (6th Cir. 2008) .................................................................................................... 21
Citizens United v. Federal Election Commission,
  558 U.S. 310 (2010) .................................................................................................................. 22
City of Chicago v. Morales,
  527 U.S. 41 (1999) .................................................................................................................... 28
Common Cause Indiana v. Lawson,
  No. 18-2491 (7th Cir. Aug. 27, 2019) ...................................................................................... 17


                                     ii
   Case 3:19-cv-00385 Document 54-1 Filed 08/30/19 Page 3 of 48 PageID #: 380
Deja Vu of Nashville, Inc. v. Metropolitan Government of Nashville & Davidson County,
  274 F.3d 377 (6th Cir. 2001) .................................................................................................... 29
Elrod v. Burns,
  427 U.S. 347 (1976) .................................................................................................................. 16
Eu v. San Francisco County Democratic Central Committee,
  489 U.S. 214 (1989) .................................................................................................................. 36
Fish v. Kobach,
  840 F.3d 710 (10th Cir. 2016) .................................................................................................. 38
G & V Lounge, Inc. v. Michigan Liquor Control Commission,
  23 F.3d 1071 (6th Cir. 1994) .................................................................................................... 40
Havens Realty Corp. v. Coleman,
  455 U.S. 363 (1982) .................................................................................................................. 17
Housing Opportunities Made Equal, Inc. v. Cincinnati Enquirer, Inc.,
  943 F.2d 644 (6th Cir. 1991) .................................................................................................... 17
Indiana State Conference of the NAACP v. Lawson,
  326 F. Supp. 3d 646 (S.D. Ind. 2018) ....................................................................................... 37
Johnson v. United States,
  135 S. Ct. 2551 (2015) .................................................................................................. 30, 33, 34
Kusper v. Pontikes,
  414 U.S. 51 (1973) .................................................................................................................... 21
League of Women Voters of Florida v. Browning,
  575 F. Supp. 2d 1298 (S.D. Fla. 2008) ..................................................................................... 19
League of Women Voters of Florida v. Browning,
  863 F. Supp. 2d 1155 (N.D. Fla. 2012) .................................................................. 18, 32, 35, 37
League of Women Voters of Florida v. Cobb,
  447 F. Supp. 2d 1314 (S.D. Fla. 2006) ................................................................... 19, 20, 24, 35
League of Women Voters of North Carolina v. North Carolina,
  769 F.3d 224 (4th Cir. 2014) .................................................................................................... 37
League of Women Voters of United States v. Newby,
  838 F.3d 1 (D.C. Cir. 2016) ...................................................................................................... 38
Libertarian Party of Ohio v. Blackwell,
  462 F.3d 579 (6th Cir. 2006) .................................................................................................... 35
Libertarian Party of Ohio v. Husted,
  No. 2:13-cv-953, 2015 WL 12967768 (S.D. Ohio Mar. 16, 2015) .......................................... 35
Liberty Coins, LLC v. Goodman,
  748 F.3d 682 (6th Cir. 2014) .................................................................................................... 16
Lujan v. Defenders of Wildlife,
  504 U.S. 555 (1992) .................................................................................................................. 16



                                     iii
   Case 3:19-cv-00385 Document 54-1 Filed 08/30/19 Page 4 of 48 PageID #: 381
Meyer v. Grant,
 486 U.S. 414 (1988) ........................................................................................................... passim
National Council of La Raza v. Cegavske,
  800 F.3d 1032 (9th Cir. 2015) .................................................................................................. 17
National Rifle Association of America v. Magaw,
  132 F.3d 272 (6th Cir. 1997) .................................................................................................... 17
Newsom v. Norris,
  888 F.2d 371 (6th Cir. 1989) .................................................................................................... 37
North Carolina State Conference of the NAACP v. North Carolina State Board of Elections,
  No. 16-cv-1274, 2016 WL 6581284 (M.D.N.C. Nov. 4, 2016) ............................................... 38
Northeast Ohio Coalition for the Homeless v. Husted,
  837 F.3d 612 (6th Cir. 2016) .................................................................................................... 17
Obama for America v. Husted,
  697 F. 3d 423 (6th Cir. 2012) ................................................................................. 34, 36, 38, 40
Pennell v. City of San Jose,
  485 U.S. 1 (1988) ...................................................................................................................... 17
Performance Unlimited v. Questar Publishers, Inc.,
  52 F.3d 1373 (6th Cir. 1995) .................................................................................................... 16
Planned Parenthood Association of Cincinnati, Inc. v. City of Cincinnati,
  822 F.2d 1390 (6th Cir. 1987) .................................................................................................. 39
Project Vote v. Blackwell,
  455 F. Supp. 2d 694 (N.D. Ohio 2006)......................................................................... 18, 24, 35
Project Vote, Inc. v. Kemp,
  208 F. Supp. 3d 1320 (N.D. Ga. 2016) ..................................................................................... 38
Reno v. American Civil Liberties Union,
  521 U.S. 844 (1997) .................................................................................................................. 33
Riley v. National Federation of the Blind of North Carolina Inc.,
  487 U.S. 781 (1988) ............................................................................................................ 26, 28
Scott v. Schedler,
  771 F.3d 831 (5th Cir. 2014) .................................................................................................... 17
Secretary of State of Maryland v. Joseph H. Munson Co.,
  467 U.S. 947 (1984) .................................................................................................................. 29
See National Institute of Family & Life Advocates v. Becerra,
  138 S. Ct. 2361 (2018) .............................................................................................................. 28
Summers v. Smart,
  65 F. Supp. 3d 556 (N.D. Ill. 2014) .......................................................................................... 36
United States v. Stevens,
  559 U.S. 460 (2010) ............................................................................................................ 29, 33



                                     iv
   Case 3:19-cv-00385 Document 54-1 Filed 08/30/19 Page 5 of 48 PageID #: 382
Village of Hoffman Estates v. Flipside, Hoffman Estates, Inc.,
  455 U.S. 489 (1982) .................................................................................................................. 28
Virginia v. American Booksellers Association, Inc.,
  484 U.S. 383 (1988) .................................................................................................................. 17
Whitman v. American Trucking Associations, Inc.,
 531 U.S. 457 (2001) .................................................................................................................. 33
Williams v. Rhodes,
  393 U.S. 23 (1968) .................................................................................................................... 22
Statutes
52 U.S.C. § 20501 ........................................................................................................................... 2
52 U.S.C. § 20505 ........................................................................................................................... 2
52 U.S.C. § 20507 ................................................................................................................... 13, 25
Tenn. Code § 2-2-109 ................................................................................................................... 23
Tenn. Code § 2-2-142 ............................................................................................................ passim
Tenn. Code § 2-2-143 ......................................................................................................... 9, 10, 32
Tenn. Code § 2-2-203 ............................................................................................................. 25, 39
Tenn. Code § 2-19-107 ........................................................................................................... 25, 39
Tenn. Code § 2-19-109 ........................................................................................................... 25, 39
Tenn. Code § 2-19-117 ........................................................................................................... 25, 39
Tenn. Code § 2-19-145 ........................................................................................................... 11, 34
Tenn. Code § 4-5-207 ................................................................................................................... 34
Tenn. Code § 4-5-208 ................................................................................................................... 34
Other Authorities
2018 Current Population Survey (“CPS”), U.S. Census Bureau, Voting and Registration in
  the Election of 2018, Table 4A, www.census.gov/data/tables/time-series/demo/voting-
  and-registration/p20-583.html .................................................................................................... 1
2019 Elections by Date, Tenn. Sec’y of State, https://sos-tn-gov-files.tnsosfiles.com/
  2019%20Local%20Elections%20by%20Date.pdf ................................................................... 38
2020 Election Calendar, Tenn. Sec’y of State, https://sos.tn.gov/products/elections/2020-
  election-calendar ....................................................................................................................... 38
Hearing on S.B. 971 Before the S. State and Local Gov’t Comm., 111th Gen. Assemb.,
  Reg. Sess. (Tenn. 2019), available at http://tnga.granicus.com/MediaPlayer.php?
  view_id=439&clip_id=17123 ............................................................................................... 3, 35
Katherine Burgess, Shelby Election Commission is ‘chilling voting activity,’ say NAACP,
  Black Voter Project, Memphis Commercial Appeal, Oct. 23, 2018,




                                      v
   Case 3:19-cv-00385 Document 54-1 Filed 08/30/19 Page 6 of 48 PageID #: 383
   https://www.commercialappeal.com/story/news/2018/10/23/lawsuit-shelby-election-
   commission-voting-black-voter-project/1744954002/ ............................................................. 33
Nat’l Conf. of State Legs, Online Voter Registration, www.ncsl.org/research/elections-and-
  campaigns/electronic-or-online-voter-registration.aspx ............................................................. 7
S. Rep. No. 103–6 (1993) ............................................................................................................... 2
U.S. Election Assistance Comm’n, The Election Admin. & Voting Surv.: 2016
  Comprehensive Rep., https://www.eac.gov/assets/
  1/6/2016_EAVS_Comprehensive_Report.pdf ......................................................................... 40




                                     vi
   Case 3:19-cv-00385 Document 54-1 Filed 08/30/19 Page 7 of 48 PageID #: 384
        Plaintiffs respectfully submit this memorandum of law in support of their motion.

      I.    PRELIMINARY STATEMENT

        This case presents the issue of whether a state can, consistent with the Constitution,

substantially interfere with the right of private organizations to associate with, encourage,

communicate with, and assist eligible citizens to register to vote. It cannot. Plaintiffs challenge

provisions of the Tennessee Code §§ 2-2-142, 2-2-143, 2-19-145 (the “Law”). The purpose and

effect of the Law is to suppress the protected speech and association of voter engagement

organizations, including Plaintiffs, restrict access to voter registration, and so, reduce access to

the franchise. The Law has already negatively affected Plaintiffs’ critical work. It should be

preliminarily enjoined before it further undermines democratic principles in Tennessee.

        Plaintiffs are civic organizations who, along with civic-minded individuals including

their staff, volunteers, and members, encourage political participation through voter registration

activities and provide critical access to voter registration for communities that are

underrepresented on the voter rolls. These activities are critical to Plaintiffs’ missions as they

provide the opportunity to communicate with the public about the importance of voter

registration and voter participation. Just as critically, during such events, Plaintiffs collect filled-

out voter registration applications from the public and take on the responsibility of delivering the

forms to election officials. This collection and delivery is the best way to ensure that members

of the public are actually getting registered to vote. Without groups like Plaintiffs, many fewer

individuals end up registered to vote. Especially in Tennessee—where nearly forty percent of

eligible citizens are unregistered 1—Plaintiffs and other similar groups provide necessary support



1
  2018 Current Population Survey (“CPS”), U.S. Census Bureau, Voting and Registration in the
Election of 2018, Table 4A, www.census.gov/data/tables/time-series/demo/voting-and-
registration/p20-583.html (last visited Aug. 29, 2019).


                                       1
    Case 3:19-cv-00385 Document 54-1 Filed 08/30/19 Page 8 of 48 PageID #: 385
to our democracy. Congress has recognized that “unfair registration laws and procedures can

have a direct and damaging effect on voter participation” and sought to lower barriers to

participation by, among other things, “permit[ting] organizations to go to the voter with

organized registration drives.” S. Rep. No. 103–6, at 2, 12 (1993); see also 52 U.S.C.

§§ 20501(a)(3), 20505(b).

       Despite this, the Law turns Plaintiffs’ core First Amendment activity into a highly

restricted and risky enterprise, in at least three respects. First, the Law threatens to criminally

prosecute Plaintiffs if they fail to comply strictly—and ensure strict compliance of every

volunteer, staff person, or member—with a host of confusing and burdensome regulations. At

the same time, it fails to give proper notice of when Plaintiffs are violating these provisions—

failing, for example, to define what constitutes a “voter registration drive” or an organization that

is “paid” to conduct voter registration, while still imposing onerous training, preregistration, and

form completion requirements for each such “drive” for each such organization. Second, under

the Law, every public communication “regarding voter registration status” that Plaintiffs make—

in any medium—must be accompanied by a compelled statement about the Secretary of State’s

non-involvement in the communication. But there is no evidence that voters believe Plaintiffs

are speaking on behalf of the Secretary of State. Given the breadth of the requirement, this

mandated speech will become a substantial portion of Plaintiffs’ total civic engagement speech,

particularly in media with limited space, and improperly impair their credibility when

communicating with their communities. Third, the Law levies substantial civil fines for the

submission of “incomplete” forms, penalizing Plaintiffs and others for errors or omissions

outside their control. These penalties are particularly absurd in light of the Law’s additional

requirement that those conducting voter registration events submit each application they collect




                                     2
  Case 3:19-cv-00385 Document 54-1 Filed 08/30/19 Page 9 of 48 PageID #: 386
within 10 days, hindering Plaintiffs from conducting the follow-up that could lower the rate of

incomplete forms.

         Plaintiffs’ voter registration activities constitute core political speech and association that

are critical to American democracy and live at the core of the First Amendment’s protections.

The challenged provisions—on their own, and in the aggregate—will render Plaintiffs’ voter

registration activities more costly, more resource-intensive, and less effective. Indeed, the Law

will leave Plaintiffs unable to conduct voter registration activities at any significant scale without

risking civil and criminal sanctions. As such, the Law effectively “go[es] after” Plaintiffs and

their ability to help voters register, just as Defendant Goins testified it was designed to do. 2

      II.   STATEMENT OF FACTS

         A. Plaintiffs’ Engagement in Voter Registration Activities 3

                    1. Plaintiffs’ Voter Registration Efforts

         Voter registration is an important part of each Plaintiff’s organizational purpose and

strategy—both as an end in itself and as a means to mobilize its members and community in

support of its goals. Plaintiffs League of Women Voters of Tennessee and League of Women

Voters of Tennessee Education Fund (collectively, the “League”) seek to promote civic

engagement through informed and active participation in government, in part, by helping

Tennessee citizens register to vote. Ott Decl. ¶ 8. The League aims to increase the number of
2
  See Hearing on S.B. 971 Before the S. State and Local Gov’t Comm., 111th Gen. Assemb.,
Reg. Sess. (Tenn. 2019) (testimony of Coordinator of Elections Mark Goins, at 1:17:57 to
1:18:19)(“Goins Testimony”), available at http://tnga.granicus.com/MediaPlayer.php?
view_id=439&clip_id=17123.
3
  Plaintiffs here summarize the facts most relevant to their preliminary injunction motion; the
facts are presented more fully in the Declarations of Marian Ott (“Ott Decl.”) on behalf of
League of Women Voters of Tennessee; Sabina Mohyuddin (“Mohyuddin Decl.”) on behalf of
American Muslim Advisory Council; Paul Garner (“Garner Decl.”) on behalf of Mid-South
Peace and Justice Center; Jeffrey Lichtenstein (“Lichtenstein Decl.”) on behalf of Memphis
Central Labor Council; Tappan Vickery (“Vickery Decl.”) on behalf of HeadCount; and Carolyn
DeWitt (“DeWitt Decl.”) on behalf of Rock the Vote, attached hereto as Exhibits A–F.


                                        3
    Case 3:19-cv-00385 Document 54-1 Filed 08/30/19 Page 10 of 48 PageID #: 387
eligible registered voters in Tennessee. Id. ¶ 20. There are nine local Leagues throughout

Tennessee, which regularly conduct voter registration outreach and encourage all members and

any other interested volunteers to participate. Id. ¶ 15–16. In the year preceding this action, the

League’s local chapters organized 122 voter registration events and engaged 277 volunteers in

these efforts. Id. ¶ 16. In 2018, these efforts involved conversations about voter registration

with thousands of individuals and resulted in the League submitting nearly 3,000 voter

registration forms to election officials. Id. ¶ 20. The League has continued its voter registration

work so far, including a number of events in the summer of 2019, and has a number of future

events planned before the Law goes into effect, including for National Voter Registration Day on

September 24, 2019. Id. ¶ 17–18. Some of the League’s voter registration work is funded by

grants, including some grants specifically designated to local Leagues to conduct voter

registration events involving the collection of filled-out voter registration forms. Id. ¶¶ 23, 25.

       Plaintiff American Muslim Advisory Council (“AMAC”) uses voter engagement and

voter registration events as part of its mission to empower Muslims in Tennessee and to improve

the political and social climate in the state for all Tennesseans. Mohyuddin Decl. ¶ 4. In 2018,

AMAC reached over 2,000 Muslim Tennesseans through voter registration events, get-out-the-

vote events, meet-the-candidate forums, and outreach through text messaging, phone banking,

and rides to the polls. Id. ¶ 5. AMAC has conducted and plans to continue its voter registration

efforts across the state this year and in 2020, with the aim of engaging as many people and

collecting as many voter registration applications as possible. Id. ¶ 7. AMAC aims to increase

the number of eligible registered voters in Tennessee. Id. AMAC uses its voter registration

outreach both to encourage participation of new voters in the political process, and to

communicate with members of the Tennessee Muslim community on issues concerning




                                     4
 Case 3:19-cv-00385 Document 54-1 Filed 08/30/19 Page 11 of 48 PageID #: 388
upcoming elections. Id. ¶ 4.

       For Plaintiff Mid-South Peace and Justice Center (“MSPJC”), voter registration activities

provide a way to engage, organize, and mobilize communities to realize social justice through

nonviolent action. Garner Decl. ¶ 8. MSPJC aims to increase the number of eligible registered

voters in Tennessee. Id. ¶ 20. In the past, some of MSPJC’s voter registration work has been

funded by grants, and MSPJC needs to continue seeking grants in the future to continue such

work at or above its current scale. Id. ¶¶ 17, 21. In conducting voter registration, MSPJC relies

on paid staff members and on volunteers both to directly help voters register, as well as to

organize local residents to help register their community members. Id. ¶¶ 7, 10, 17, 19. When

conducting voter registration activities, MPSJC regularly retains information from applications

in order to follow-up with members of the communities in which it works. Id. ¶ 22.

       Plaintiff Memphis Central Labor Council (“MCLC”)—which acts as an umbrella

organization for 44 affiliate unions based in western Tennessee and encompasses approximately

16,000 union members—helps union members and their household members register to vote

through extensive canvassing and voter turnout efforts. Lichtenstein Decl. ¶¶ 2–3. MCLC has a

target universe of approximately 40,000 unregistered but eligible union members and

householders in Tennessee, and intends to help register more than 1,000 of these union members

and householders in the next election cycle, and in so doing, increase the number of eligible

registered voters in Tennessee. Id. ¶ 5. For its voter registration activities, MCLC hires paid

field organizers and union staff on “release” time to perform door-to-door canvassing of its

unions’ members and setting up voter registration tables at union halls. Id. ¶¶ 6–8. MCLC uses

its voter registration efforts not only to increase the political voice of union members, but also to

communicate about important election-related issues. Id. ¶¶ 11–12.




                                     5
 Case 3:19-cv-00385 Document 54-1 Filed 08/30/19 Page 12 of 48 PageID #: 389
        Plaintiff HeadCount conducts voter registration activities at concerts and music festivals

nationwide as part of its message that the popularity and power of music should be connected

with action. Vickery Decl. ¶ 5. Since 2014, HeadCount has helped over 3,000 Tennesseans

register through their work in the field, and it plans to continue such work at music events

throughout the state. Id. ¶ 9. Indeed, one of HeadCount’s premiere national events is Bonnaroo,

a music festival based in Tennessee. Id. ¶¶ 9–10. In addition, HeadCount supports and provides

resources for voter registration efforts at community-based events and is working to expand the

reach of such events to new potential voters. Id. ¶¶ 7, 15. In order to conduct these voter

registration-related activities, HeadCount receives grant money, direct donations, and

sponsorships. Id. ¶ 8. While its small staff has a critical role, HeadCount relies primarily on

volunteer team leaders and volunteers for its on-the-ground field efforts to help voters register.

Id. ¶ 13–14.

                   2. Plaintiffs’ Public Communications

        Plaintiffs publicly communicate about voter registration—and thus about “voter

registration status” under the Law—using a variety of methods. For example, Plaintiff Rock the

Vote (“RTV”) 4 primarily functions to communicate with potential voters nationwide about how

to register to vote, check their voter registration status, and vote. The Law could cover nearly

every communication RTV makes. RTV uses and maintains its own online voter registration

platform for use by its partners across the country and in Tennessee. DeWitt Decl. ¶ 5. Both the

League and HeadCount use the RTV tool. Ott Decl. ¶ 74; Vickery Decl. ¶ 36. The RTV tool,

available in 13 languages, helps users determine whether they are able to use their state’s online

4
 Rock the Vote challenges only the disclaimer and disclosure requirements of Tennessee Code
§ 2-19-145. Due to the nature of its activities, it would not be impacted by the other challenged
provisions. To the extent the term “Plaintiffs” is used throughout to refer to the other challenges
brought in this action, it excludes Rock the Vote in those contexts.


                                        6
    Case 3:19-cv-00385 Document 54-1 Filed 08/30/19 Page 13 of 48 PageID #: 390
voter registration system, 5 and then, as appropriate, either directs the person to the appropriate

state website or assists the person with completing the federal mail-in voter registration form.

DeWitt Decl. ¶ 5. In 2018, RTV helped approximately 10,000 individuals register to vote in

Tennessee. Id. ¶ 4. Using the RTV tool through the League’s Vote 411.org website, 1,520

individuals in Tennessee registered to vote in 2018, and thus far in 2019, 138 individuals in

Tennessee have registered to vote. Ott Decl. ¶ 75.

        RTV also offers a voter lookup tool, which allows voters to check their registration status

before prompting them to register to vote through RTV’s online tool. DeWitt Decl. ¶ 6. RTV

relies heavily on its website and digital communication methods, such as social media, email,

text messages, and digital advertising to reach and mobilize young people across the country and

to encourage them to register to vote, check their voter registration status, or update their voter

registration to reflect their current personal information. Id. ¶ 9. Its online registration tool also

allows voters to opt into targeted, non-partisan election reminders via email and text messaging

to ensure they are prepared to vote. Id.

        The League also regularly communicates with members of the public concerning voter

registration status. Ott Decl. ¶ 62. In addition to its regular communications with the public, the

League also had plans to roll out a text messaging campaign to communicate with individuals

about voter registration in advance of the 2020 elections. Id. ¶ 69. Additionally, the League

relies upon the website Vote411.org, run by the national League of Women Voters Education

Fund, to provide people with information on voter registration and registration status. Id. ¶ 71.

In 2018, 47,825 individuals in Tennessee accessed this website. Id. ¶ 72. Vote411.org collects

5
  In most states, online voter registration systems work only for those potential eligible voters
who have a driver’s license or state ID card. Nat’l Conf. of State Legs, Online Voter
Registration, www.ncsl.org/research/elections-and-campaigns/electronic-or-online-voter-
registration.aspx (last visited Aug. 27, 2019).


                                        7
    Case 3:19-cv-00385 Document 54-1 Filed 08/30/19 Page 14 of 48 PageID #: 391
information from individuals using that system, and the League had plans to use this information

for further communication with these individuals about voting, voter registration, and other

voting information. Id. ¶¶ 74, 78. HeadCount uses an array of digital tools and social media to

promote and facilitate voter registration. Vickery Decl. ¶ 35. It also communicates with

members of the public concerning voter registration status. Id. ¶ 36. These efforts include using

the RTV tools in its digital voter registration efforts. Id.

        AMAC, MSPJC, and MCLC also each regularly engage in public communications

concerning voter registration status and polling locations. Mohyuddin Decl. ¶ 4 Garner Decl.

¶ 47; Lichtenstein Decl. ¶¶ 9, 11. For example, while conducting voter registration activities,

whether through canvassing or at events, MCLC collects information from the people that it

helps register. Collecting this information lets MCLC connect with its members and convey to

them its political endorsements and other communications. It lets MCLC provide the updated

information back to the affiliate and national unions to which the members belong, enabling

future communications between its affiliates and their members. Finally, it allows MCLC to

contact members and householders it has helped register, in order to communicate with them

about upcoming elections, including by notifying them of their polling locations and sending

reminders and encouragement to go to the polls. Lichtenstein Decl. ¶ 11.

        B. The Challenged Law’s Burdensome, Confusing Provisions

        Plaintiffs challenge three newly enacted sections of the Tennessee Code, in whole or

part 6: Sections 2-2-142, 2-2-143, and 2-19-145.

            1. Section 2-2-142: Criminal Penalties Tied to Voter Registration Drive Regulations

        Section 2-2-142 (the “Drives Provision”) of the Law requires, under threat of criminal
6
 Plaintiffs do not challenge or seek to enjoin Tennessee Code § 2-2-142(c)–(d), which prevent
payment based on the number of voter registration forms collected and prohibit setting quotas or
minimum number of voter registration forms that must be collected.


                                        8
    Case 3:19-cv-00385 Document 54-1 Filed 08/30/19 Page 15 of 48 PageID #: 392
prosecution, that “prior to conducting” any “voter registration drive” in which an organization or

individual “attempts to collect” more than 100 voter registration applications, organizations such

as Plaintiffs must: (a) pre-register with the state, indicating the county or counties where the

registration drives will take place, the name and contact information of the person “conducting

the voter registration drive,” and the contact information for the officers of the organization

conducting the drive; (b) complete a specific training administered by the state’s Coordinator of

Elections; (c) ensure that each and every individual participating in the drive also complete this

training; and (d) file a sworn statement promising to obey all state laws and procedures. Tenn.

Code § 2-2-142(a). It also requires submission of all “completed voter registration forms” within

10 days of “the voter registration drive” without exception. Id.; see also id. § 2-2-143.

       The Law does not define what constitutes a “voter registration drive” in terms of length

or continuousness, and thus it does not specify how frequently organizational agents must pre-

register, attend training, and ensure completion of training—e.g., before each election cycle;

annually; or even before each individual day of voter registration activity.

       This Section also prohibits organizations from copying or retaining voter information

unless the applicant explicitly consents. Id. § 2-2-142(b). This prevents organizations from

following up to ensure successful registration and election participation absent explicit advance

agreement by each individual. Due to the risk of criminal sanction created by the Law, this

consent must be obtained in writing, creating an additional hurdle to engaging citizens about

voter registration. See Mohyuddin Decl. ¶ 24; Garner Decl. ¶ 23; Lichtenstein Decl. ¶ 12.

       This Section provides that the Coordinator of Elections “may adopt policies or

procedures” to implement this section but does not require implementing regulations or provide

any timeline. Id. § 2-2-142(e) (emphasis added). To date, he has not done so.




                                     9
 Case 3:19-cv-00385 Document 54-1 Filed 08/30/19 Page 16 of 48 PageID #: 393
           2. Section 2-2-143: Substantial Fines for Submission of “Incomplete” Forms

       In a provision that is unique to Tennessee, Section 2-2-143 (the “Incomplete Forms

Provision”) subjects any organization that files 100 or more “incomplete voter registration

applications with one (1) or more county election commissions . . . to a civil penalty.” Id. § 2-2-

143(a). It defines “incomplete voter registration application” as one that “lacks an applicant’s

name, residential address, date of birth, declaration of eligibility, or signature.” Id. § 2-2-143(b)

(emphasis added). The Law is silent as to whether incorrect information in any of these

categories renders an application “incomplete.” The required fields also have multiple sub-

fields: e.g., first name, middle name, last name, street number, street name, apartment or suite

number, city, county, zip code, month, day, and year of birth, and so forth. But, again, the Law

is silent as to whether a missing subfield renders an application “incomplete.”

       Organizations that turn in 100 or more “incomplete voter registration applications” within

one year are subject to significant civil penalties, ranging up to $10,000 per offense per county.

Id. § 2-2-143(c). Despite these penalties, the Law requires an organization to file every form it

collects within 10 days, excepting only forms that contain solely an individual’s name or initial.

Id. § 2-2-143(b); see also id. § 2-2-142(a).

       While this Section provides that the State Election Commission “may promulgate rules

and procedures to implement the provisions of this section,” the Law does not require it or

provide any timeline by which it must, id. § 2-2-143(f), and the Commission has not done so.

           3. The Unpaid Exception

       Only “individuals who are not paid to collect voter registrations” and organizations that

“are not paid to collect voter registrations applications and that only use unpaid volunteers to

collect voter registration applications” are not covered by the Drives Provision or the Incomplete

Forms Provision. Id. § 2-2-142(g) (emphasis added); § 2-2-143(a). The Law does not specify


                                    10
 Case 3:19-cv-00385 Document 54-1 Filed 08/30/19 Page 17 of 48 PageID #: 394
whether it applies to organizations that receive grants to conduct their voter registration work, or

organizations that use paid employees to train, manage, or supervise volunteers who conduct

voter registration events. A plain reading of the Law suggests these organizations will be swept

into the Law’s restrictions. As a practical matter, no voter registration activity of significant

scale—even if it relies heavily on volunteers—can be conducted without some funding. Thus,

the Law appears to cover all but the very smallest voter registration efforts.

           4. Section 2-19-145: Compelled Statements Coupled with Criminal Penalties

       The final challenged Section, which is also singular to Tennessee, Section 2-19-145 (the

“Compelled Statement Provision”) provides, subject to criminal penalties, that any “public

communication regarding voter status”—which explicitly includes, but is not limited to, phone

calls, emails, text messages, web content, and mailings—must include a “disclaimer” that the

“communication is not made in conjunction with or authorized by the secretary of state.” Id. § 2-

19-145(a). Additionally, the Compelled Statement Provision mandates that any voter-

registration or voter-lookup website include such a compelled statement and explain the

collection of any voter information or data along with the organization’s name and the purpose

for which the information is collected. Id. § 2-19-145(b), (c). The Section further requires that

the compelled statement be “clear and conspicuous and prominently placed” but provides no

parameters for these requirements. Id. § 2-19-145(d).

       C. The Law’s Severe Impact on Plaintiffs and their Voter Registration Efforts

       The challenged provisions—individually and collectively—impose severe burdens on

Plaintiffs, their staff, volunteers, and members, as well as similarly situated organizations.

           1. Burdens and Harms Caused by Sections 2-2-142 and 2-2-143: Criminal Penalties
              Tied to Voter Registration Drive Regulations; Substantial Fines for Submission of
              “Incomplete” Forms

       If the Law goes into effect, the risk of financial penalties and criminal prosecution under


                                    11
 Case 3:19-cv-00385 Document 54-1 Filed 08/30/19 Page 18 of 48 PageID #: 395
the Drives Provision and the Incomplete Forms Provision will likely cause Plaintiffs to abandon

or significantly curtail their voter registration activities, see Ott Decl. ¶ 58; Mohyuddin Decl.

¶¶ 9–10; Garner Decl. ¶¶ 40–41; Lichtenstein Decl. ¶ 19; Vickery Decl. ¶ 42, for several reasons.

First, due to the risk of fines for submission of incomplete forms, Plaintiffs will be forced to

scale back the amount of registration activity they conduct. See Ott Decl. ¶ 59; Mohyuddin Decl.

¶¶ 10, 12; Garner Decl. ¶¶ 25, 37; Lichtenstein Decl. ¶¶ 13, 20; Vickery Decl. ¶ 42. Even a

small fine would cause Plaintiffs severe hardship given their limited staff and financial resources.

See Ott Decl. ¶ 57; Mohyuddin Decl. ¶ 8; Garner Decl. ¶¶ 17, 43; Lichtenstein Decl. ¶ 16. This

risk is all the more heightened because Plaintiffs are unsure whether the state will deem forms to

be incomplete based on incorrect, rather than missing information—or whether missing

information in a particular subfield (e.g., “middle name”) will render a form “incomplete.” See

Ott Decl. ¶ 49; Lichtenstein Decl. ¶ 16; Vickery Decl. ¶ 52.

        Second, compliance with the Law’s onerous training and pre-registration requirements

will put Plaintiffs’ voter registration activity in a straightjacket. Effective voter registration

events require maximum flexibility: Plaintiffs and other similar organizations need to be able to

adjust plans to community needs or opportunities, accommodate shifting and limited volunteer

availability, be flexible in interactions with registrants, and modify strategies based on lessons

learned. But the Law will impede Plaintiffs’ need to be flexible in its deployment of staff,

volunteers, and members in their voter registration activities, and will depress the number of

individuals able to participate. See Ott Decl. ¶¶ 34–35, 43; Garner Decl. ¶ 32; Lichtenstein Decl.

¶ 22; Vickery Decl. ¶¶ 43–44, 46, 79–80. It will restrict the amount of speech engaged in by

Plaintiffs as part of their voter registration efforts, depress the spirit of volunteerism that is a

critical part of some Plaintiffs’ associational missions, and impede Plaintiffs’ ability to associate




                                    12
 Case 3:19-cv-00385 Document 54-1 Filed 08/30/19 Page 19 of 48 PageID #: 396
with individuals who seek to participate the day of an event. Id. Compliance will require

Plaintiffs to divert resources from other programmatic areas and reduce the amount of their voter

registration activities. Ott Decl. ¶ 54; Mohyuddin Decl. ¶¶ 8–10, 15; Garner Decl. ¶ 42;

Lichtenstein Decl. ¶¶ 19, 21–22; Vickery Decl. ¶¶ 14, 40, 70–71.

       Third, the requirement that organizational representatives sign a sworn statement

affirming compliance with the Law will discourage Plaintiffs’ voter registration activities due to

the Law’s vagueness and potential conflict with other legal provisions. Ott Decl. ¶¶ 41–43;

Mohyuddin Decl. ¶ 19; Garner Decl. ¶¶ 33–34; Lichtenstein Decl. ¶ 17; Vickery Decl. ¶¶ 68–69.

Because of the uncertainty about what the Law requires and the attendant risk of criminal

penalties, Plaintiffs are highly reluctant to sign such an affidavit. Id.

       Fourth, the Law’s general prohibition on retaining registration applicants’ information

will hamper Plaintiffs’ ability to ensure that all application forms it collects are complete (an

alleged goal of the Incomplete Forms Provision). Mohyuddin Decl. ¶ 12; Garner Decl. ¶ 35;

Vickery Decl. ¶ 53. And for those who do become registered successfully, the prohibition on

retention of voters’ contact information will harm Plaintiffs’ ability to encourage registrants to

ultimately participate in the political process and vote. Ott Decl. ¶¶ 66–68; Mohyuddin Decl.

¶ 24; Garner Decl. ¶ 24; Lichtenstein Decl. ¶ 12. The prohibition makes little sense in light of

the fact that registrants’ contact information is publicly available under the National Voter

Registration Act (“NVRA”). See 52 U.S.C. § 20507(i).

           2. Burdens and Harms Caused by Section 2-19-145: Compelled Statements Coupled
              with Criminal Penalties

       The Compelled Statement Provision will diminish Plaintiffs’ messages to their potential

voters because, despite using lawful methods of registration, the organizations will be required to

state that their activities are not sanctioned by the State. Inclusion of this compelled statement



                                    13
 Case 3:19-cv-00385 Document 54-1 Filed 08/30/19 Page 20 of 48 PageID #: 397
will necessarily reduce the faith registrants have in Plaintiffs’ voter registration programs. See

Ott Decl. ¶ 73; Mohyuddin Decl. ¶ 23; Garner Decl. ¶ 49; Lichtenstein Decl. ¶ 10; Vickery Decl.

¶¶ 56–57; DeWitt Decl. ¶¶ 12, 16. It is also confusing, irrational, and potentially inaccurate

because Plaintiffs use state-issued voter registration forms and at times connect voters to the

Secretary of State’s website. See Ott Decl. ¶ 70; Garner Decl. ¶ 48; Lichtenstein Decl. ¶ 10;

Vickery Decl. ¶ 66; DeWitt Decl. ¶¶ 12, 16.

       The Compelled Statement Provision has already inflicted, and will continue to inflict,

harm on Plaintiffs by curtailing the space available for their own messages on texts, social

media, or other similar modes of communication and imposing significant costs in terms of the

money, staff, and resources necessary to ensure compliance. Many forms of media are limited

by characters or cost more per character. Thus, the mandated statement will make some forms of

media ineffective by minimizing Plaintiffs’ speech in the message and make others far more

expensive. Further, the Compelled Statement Provision has required and will continue to require

Plaintiffs to expend staff time and money to develop new materials and develop new processes

prior to October 1, 2019, diverting those resources from other organizational priorities. See Ott

Decl. ¶ 65; Mohyuddin Decl. ¶¶ 20, 25; Garner Decl. ¶ 50; Lichtenstein Decl. ¶ 19; Vickery

Decl. ¶¶ 73–76; DeWitt Decl. ¶¶ 14–16. These costs have harmed and will continue to harm

Plaintiffs’ efforts to help voters register as each organization only has finite resources. See, e.g.,

Ott Decl. ¶ 59; Mohyuddin Decl. ¶¶ 10, 15, 23; Lichtenstein Decl. ¶¶ 21–22.

       To ensure compliance by October 1, RTV must make changes to its online voter

registration tools—including those used by partners such as the League and HeadCount—well in

advance of the Law’s effective date. These changes include providing the required compelled

statement in all 13 languages the tool supports; redesigning its user-flow and interface; updating




                                    14
 Case 3:19-cv-00385 Document 54-1 Filed 08/30/19 Page 21 of 48 PageID #: 398
its website; and testing every change on both desktop and mobile devices—all at significant cost.

DeWitt Decl. ¶¶ 11, 14. RTV must also evaluate changes to its digital voter registration

communications strategy and program based on whether the communications platforms can

support the compelled statement. Id. ¶ 12. The League must make similar changes, including to

Vote411.org, and may be forced to drop its planned text messaging program due to the

Compelled Statement Provision. Ott Decl. ¶¶ 69–71.

       HeadCount’s planning for 2020 is already underway, and it has already produced a kit for

events, signage, and other materials for festivals at which voter registration is conducted. These

materials are used nationally. Vickery Decl. ¶ 73. Redesigning and reprinting the materials for

2020 would be costly, and would require either a re-design of all materials or the creation and

printing of Tennessee-specific materials. Id. ¶¶ 74–75. For its digital tools, HeadCount will

have to make modifications or seek modifications from partners, such as RTV. Id. ¶¶ 62–64.

Additionally, HeadCount will need to design new training materials and change its online voter

hub. Id. ¶¶ 60–61. Not only will HeadCount incur significant costs, but the Law may well

require it to forego registration of Tennessee residents at all but the largest national festivals. Id.

¶¶ 42, 71–72. Moreover, if HeadCount has to integrate the compelled statement into their in-

person registration communications, the state’s message and its formalized nature will diminish

HeadCount’s mission by harming the ability of volunteers to reach potential voters where they

are by engaging them in a familiar and comfortable environment. Id. ¶ 57.

    III.   ARGUMENT

       A. Standard of Review

       Courts consider four factors in deciding whether to issue a preliminary injunction:

whether (1) the movant has a strong likelihood of success on the merits; (2) the movant would

suffer irreparable harm without the injunction; (3) issuance of the injunction would cause


                                    15
 Case 3:19-cv-00385 Document 54-1 Filed 08/30/19 Page 22 of 48 PageID #: 399
substantial harms to others; and (4) the public interest would be served by issuance of the

injunction. Bonnell v. Lorenzo, 241 F.3d 800, 809 (6th Cir. 2001). No single factor is a

prerequisite to prevailing, and the Court must balance all four factors. Performance Unlimited v.

Questar Publishers, Inc., 52 F.3d 1373, 1381 (6th Cir. 1995). In First Amendment claims,

success on the merits carries particular weight. Liberty Coins, LLC v. Goodman, 748 F.3d 682,

690 (6th Cir. 2014). This is so because “it is well-settled that ‘loss of First Amendment

freedoms . . . unquestionably constitutes irreparable injury.’” Id. (quoting Elrod v. Burns, 427

U.S. 347, 373 (1976)).

       The primary purpose of a preliminary injunction is to maintain the status quo until a final

decision on the merits can be reached. Blaylock v. Cheker Oil Co., 547 F.2d 962, 965 (6th Cir.

1976). As the Law has not gone into effect and would dramatically change the regulation of

voter registration activities in Tennessee, enjoining the Law will maintain the status quo pending

the decision on the merits.

       B. Plaintiffs Have Several Independent Bases for Standing.

       Article III standing requires (1) an “injury in fact,” i.e., “an invasion of a legally

protected interest which is (a) concrete and particularized and (b) actual and imminent, not

conjectural or hypothetical;” (2) “a causal connection between the injury and the conduct

complained of;” and (3) that it is “likely” the injury will be “redressed by a favorable decision.”

Lujan v. Defs. of Wildlife, 504 U.S. 555, 560–61 (1992). As detailed in the factual background

and declarations, the Law has already injured Plaintiffs and will continue to do so after its

effective date in several concrete ways.

       First, the Law’s threat of civil and criminal penalties, its vagueness, and its burdensome

disclosure, pre-registration, and training requirements—both individually and in the aggregate—

will chill Plaintiffs’ First Amendment activities, including their voter registration efforts and


                                    16
 Case 3:19-cv-00385 Document 54-1 Filed 08/30/19 Page 23 of 48 PageID #: 400
their communications about voter registration and registration status. See, e.g., Ott Decl. ¶¶ 59–

60; Mohyuddin Decl. ¶¶ 13, 24; Garner Decl. ¶¶ 44–46; Lichtenstein Decl. ¶ 22; Vickery Decl.

¶¶ 42, 72; DeWitt Decl. ¶¶ 12, 16; see also Virginia v. Am. Booksellers Ass’n, Inc., 484 U.S. 383,

392 (1988) (finding standing where speech-related law will force plaintiffs “to take significant

and costly compliance measures or risk criminal prosecution”); Pennell v. City of San Jose, 485

U.S. 1, 8 (1988) (“likelihood of enforcement . . . is a sufficient threat of actual injury” for

standing); Nat’l Rifle Ass’n of Am. v. Magaw, 132 F.3d 272, 276 (6th Cir. 1997).

       Second, these same elements of the Law will also harm Plaintiffs by impeding the voter-

registration activities that are central to their organizational missions, while causing them to

divert time and resources to attempt to comply with the law at the expense of other

organizational priorities. See Ott Decl. ¶¶ 54, 65; Mohyuddin Decl. ¶¶ 8–10, 15, 20, 25; Garner

Decl. ¶ 42, 50; Lichtenstein Decl. ¶¶ 19, 21–22; Vickery Decl. ¶¶ 14, 40, 70–71, 73–76; DeWitt

Decl. ¶¶ 14–16; see also, e.g., Havens Realty Corp. v. Coleman, 455 U.S. 363, 379 (1982); Hous.

Opps. Made Equal, Inc. v. Cincinnati Enquirer, Inc., 943 F.2d 644, 646 (6th Cir. 1991).

Numerous Circuit Courts, including the Sixth, “have upheld the standing of voter-advocacy

organizations that challenged election laws based on . . . drains on their resources.” Common

Cause Ind. v. Lawson, No. 18-2491, slip op. at 14–15 (7th Cir. Aug. 27, 2019); see also Ne. Ohio

Coal. for the Homeless v. Husted, 837 F.3d 612, 624 (6th Cir. 2016); Nat’l Council of La Raza v.

Cegavske, 800 F.3d 1032, 1040 (9th Cir. 2015); Scott v. Schedler, 771 F.3d 831, 836–39 (5th

Cir. 2014).

       Third, MCLC’s members will be harmed by the Law’s interference with their ability to

register to vote, providing a basis for associational standing as well. Lichtenstein Decl. ¶¶ 5, 9,

13; see, e.g., Am. Civ. Liberties Union of Ohio Found., Inc. v. Ashbrook, 375 F.3d 484, 490 (6th




                                    17
 Case 3:19-cv-00385 Document 54-1 Filed 08/30/19 Page 24 of 48 PageID #: 401
Cir. 2004) (holding that organization had associational standing where member was negatively

affected by Ten Commandments display, where injury was germane to organizational purpose,

and case would not require member’s participation).

        All of these injuries are directly traceable to the Law’s challenged provisions—they are

burdens and threats that Plaintiffs would not face but for its passage—and the injunction

requested would remedy much of the harm Plaintiffs face by lifting the threat of criminal and

civil penalties, removing the need for Plaintiffs to divert their resources, and eliminating the

direct harm to their voter registration activities.

        C. Plaintiffs Have a Strong Likelihood of Success on the Merits.

            1. Plaintiffs Are Likely To Succeed on Their First Amendment Speech and
               Association Claim.

                        a. The Law restricts core First Amendment freedoms.

        Voter registration activity forms a critical part of Plaintiffs’ core political speech,

associational activity, and organizational missions. See supra Section II.A. Plaintiffs’ efforts to

assist others in registering to vote are themselves political statements, signaling that they value

the democratic process and believe in the capacity of the popular will to shape the composition

and direction of the government. Courts have consistently recognized that voter registration

activity—like Plaintiffs’—is protected political expression: “The interactive nature of voter

registration drives is obvious: they convey the message that participation in the political process

through voting is important to a democratic society.” Project Vote v. Blackwell, 455 F. Supp. 2d

694, 706 (N.D. Ohio 2006) (striking down similar restrictions on voter registration activity); see

also League of Women Voters of Fla. v. Browning (“Browning II”), 863 F. Supp. 2d 1155, 1158–

59 (N.D. Fla. 2012) (holding that the assertion that laws regulating voter registration drives

“implicate no constitutional rights is plainly wrong” and that such laws regulate “core First



                                    18
 Case 3:19-cv-00385 Document 54-1 Filed 08/30/19 Page 25 of 48 PageID #: 402
Amendment activity”); League of Women Voters of Fla. v. Browning, 575 F. Supp. 2d 1298,

1321 (S.D. Fla. 2008) (“Undoubtedly, Plaintiffs’ interactions with prospective voters in

connection with their solicitation of voter registration applications constitutes constitutionally

protected activity.”); League of Women Voters of Fla. v. Cobb, 447 F. Supp. 2d 1314, 1332 (S.D.

Fla. 2006) (concluding that law restricting third-party voter registration activity “reduced the

total quantum of speech” because “as part of their voter registration drives, [the plaintiffs]

persuade others to vote, educate potential voters about upcoming political issues, communicate

their political support for particular issues, and otherwise enlist like-minded citizens in

promoting shared political, economic, and social positions”).

       As “this case involves a limitation on political expression,” the challenged Law is

“subject to exacting scrutiny.” Meyer v. Grant, 486 U.S. 414, 420 (1988); see also Buckley v.

Am. Constitutional Law Found., 525 U.S. 182, 204 (1999). In Meyer, plaintiffs conducted direct

outreach to fellow citizens to engage them with the political process by gathering petition

signatures for inclusion of a question on the ballot. Their signature-gathering activity was

burdened by a law that prohibited the payment of petition circulators. Applying “exacting

scrutiny,” the Supreme Court struck down those restrictions as “restrict[ing] political

expression.” Meyer, 486 U.S. at 420–22. Just as in Meyer, here, Plaintiffs’ voter registration

efforts are “core political speech” involving “interactive communication concerning political

change.” Id. at 422. Whether a voter should register and ultimately participate in an election is a

“matter of societal concern that [Plaintiffs] have a right to discuss publicly without risking

criminal sanctions,” id. at 421, and is intimately intertwined with the whole of Plaintiffs’ speech

and associative activities. See also Buckley, 525 U.S. at 186–87 (striking down a similar

restriction as in Meyer and quoting Meyer, 486 U.S. at 422). When Plaintiffs encourage




                                    19
 Case 3:19-cv-00385 Document 54-1 Filed 08/30/19 Page 26 of 48 PageID #: 403
Tennessee citizens to register and vote, Plaintiffs necessarily engage those citizens in

conversations about the importance of voting and civic engagement and the need for political

reform, as well as issues of organizational importance. See Ott Decl. ¶ 8; Mohyuddin Decl. ¶ 4;

Garner Decl. ¶¶ 13, 19–20; Lichtenstein Decl. ¶ 11; Vickery Decl. ¶¶ 23, 31.

       Plaintiffs’ First Amendment activity—explaining the importance of voting, encouraging

voter registration, and assisting fellow citizens in registering to vote—cannot be sliced and diced

to avoid constitutional scrutiny. In their motion to dismiss, Defendants argue that “collecting a

form and forwarding it to the proper officials is neither speech nor association.” ECF No. 40

at 14. Such a cramped view of the First Amendment failed in Meyer and fails here as well. In

Meyer, while defendants argued that the law “did not place any restraint on [plaintiffs’] own

expression” because the plaintiffs could speak about the initiative they supported without

collecting signatures to qualify it for the ballot, 486 U.S. at 418, the Court recognized that this

type of interactive political speech cannot be so disaggregated: “[T]he circulation of a petition

involves . . . interactive communication concerning political change,” id. at 421–22; see also

Cobb, 447 F. Supp. 2d at 1332 (finding restrictive third-party voter registration law “analogous

to [the law] in Meyer”); Am. Ass’n of People with Disabilities v. Herrera, 690 F. Supp. 2d 1183,

1215–16 (D.N.M. 2010), on reconsideration in part, No. 08-cv-702, 2010 WL 3834049 (D.N.M.

July 28, 2010) (finding “Plaintiffs’ public endeavors to assist people with voter registration”

involve protected political expression). Without the voter registration events themselves,

including collecting filled-out voter registration forms and delivering them to the election

officials for the public, communication about voter registration loses its force. And as the Sixth

Circuit has held, the First Amendment protects Plaintiffs’ “right not only to advocate their cause

but also to select what they believe to be the most effective means for doing so.” Citizens for




                                    20
 Case 3:19-cv-00385 Document 54-1 Filed 08/30/19 Page 27 of 48 PageID #: 404
Tax Reform v. Deters, 518 F.3d 375, 386 (6th Cir. 2008) (quoting Meyer, 486 U.S. at 424).

       Likewise, there is no “doubt that freedom to associate with others for the common

advancement of political beliefs and ideas is a form of orderly group activity protected by the

First and Fourteenth Amendments.” Kusper v. Pontikes, 414 U.S. 51, 56–57 (1973) (internal

quotation omitted). In conducting their voter registration activities, Plaintiffs associate with their

volunteers, members, and other Tennessee citizens. See, e.g., Ott Decl. ¶¶ 13, 32–33;

Mohyuddin Decl. ¶¶ 3–4; Garner Decl. ¶¶ 10–13, 16; Lichtenstein Decl. ¶ 9; Vickery Decl. ¶¶ 4–

7, 13, 23. The risk of criminal prosecution and imposition of substantial monetary civil sanctions

by the Law will deter individuals from associating with Plaintiffs, see, e.g., Ott Decl. ¶¶ 41–43,

57; Mohyuddin Decl. ¶ 16; Garner Decl. ¶¶ 32–33; Lichtenstein Decl. ¶¶ 12, 22; Vickery Decl.

¶¶ 41, 78, severely curtailing their orderly group activity protected by the First Amendment.

       For example, interest in helping with voter registration is one of the main reasons that

individuals join the League. See Ott Decl. ¶ 37. Engaging individuals to help with voter

registration is one of the most effective ways that the League is able to recruit new members and

is the main motivation driving the creation of new local Leagues in Tennessee. Id. Similarly,

expanding members’ responsibilities with running voter registration events allows the League to

recruit members to take on leadership roles. Id. Imposing cumbersome burdens on the process

of conducting voter registration events will impact the effectiveness of the outreach the League

conducts and also impair its associational rights to expand and grow its membership.

       The Law further impedes Plaintiffs’ associational rights by limiting the audience

Plaintiffs can reach. The burdens of the Law will necessarily reduce the volume and reach of

Plaintiffs’ voter registration activity, see, e.g., Ott Decl. ¶¶ 34–35; Mohyuddin Decl. ¶¶ 10, 12,

15; Garner Decl. ¶¶ 27; Lichtenstein Decl. ¶ 13; Vickery Decl. ¶¶ 42, 78, thus inhibiting their




                                    21
 Case 3:19-cv-00385 Document 54-1 Filed 08/30/19 Page 28 of 48 PageID #: 405
association with Tennessee citizens through voter registration outreach. MCLC, for example,

will be forced to halt their voter registration activities if the Law goes into effect on October 1.

Lichtenstein Decl. ¶ 19. Other Plaintiffs will have to limit their voter registration work targeting

transitional residents, like students or those in lower-income communities, because of concerns

that it will be harder to ensure collection of only complete forms from more transient

populations. See Ott Decl. ¶ 60; Vickery Decl. ¶ 52. Just as in Meyer and Buckley, the Law here

violates the right to “associate for political purposes” and freely engage with members of the

public, because it “decreases the pool” of volunteers and staff who will engage in voter

registration activity, thus “limit[ing] the number of voices who will convey” Plaintiffs’

messages, and decreasing “‘the size of the audience [Plaintiffs] can reach.’” Buckley, 525 U.S. at

194–95 (quoting Meyer, 486 U.S. at 422–23); see, e.g., Ott Decl. ¶¶ 34–35, 41–43; Mohyuddin

Decl. ¶ 16; Garner Decl. ¶¶ 30–32; Lichtenstein Decl. ¶ 14; Vickery Decl. ¶ 41.

       The onerous requirements of the Law—together with the substantial civil and criminal

penalties they threaten—burden Plaintiffs’ political expression, diminishing their ability to

convey their message and further it by engaging more individuals in the political process. The

speech in question is “at the core of our electoral process and of the First Amendment freedoms.”

Williams v. Rhodes, 393 U.S. 23, 32 (1968). This is “an area of public policy where protection

of robust discussion is at its zenith.” Meyer, 486 U.S. at 425. As such, the burden the state

“must overcome to justify this criminal law is well-nigh insurmountable.” Id. The Law burdens

Plaintiffs’ political speech, and is “accordingly ‘subject to strict scrutiny, which requires the

Government to prove that the restriction furthers a compelling interest and is narrowly tailored to

achieve that interest.’” Ariz. Free Enter. Club’s Freedom Club PAC v. Bennett, 564 U.S. 721,

734 (2011) (quoting Citizens United v. Fed. Election Comm’n, 558 U.S. 310, 340 (2010)).




                                    22
 Case 3:19-cv-00385 Document 54-1 Filed 08/30/19 Page 29 of 48 PageID #: 406
                       b. The Law is not narrowly tailored to serve any compelling government
                          interest.

       The Law’s provisions are not meaningfully designed to serve any legitimate government

interest. Defendants argue that Drives Provision and the Incomplete Forms Provision somehow

are necessary to avoid the disenfranchisement of voters. ECF No. 40 at 14. This argument is

illogical—the opposite is true. Plaintiffs and other similar groups are adding to the voter

registration options available for Tennessee citizens, while, by causing Plaintiffs to limit their

voter registration activities, the Law will reduce the total amount of that voter registration

assistance throughout the state. Tennessee posits that “the consequences can be dire” if an

organization turns its forms in late or submits incomplete forms. Id. But the Law does not

simply require submission of registration forms by the deadline; it requires submission within

ten days of collection upon threat of criminal sanction—even if the forms are collected months

before the deadline for submission. That unduly restricts Plaintiffs and does not protect voters.

       And the penalties for submission of incomplete forms are similarly inapt: if a voter fails

to fill out a complete voter registration form, the voter is no worse off if she submits the forms

herself or submits through a voter registration organization. But by registering through a

Plaintiff group, she can at least receive guidance on voter registration requirements and benefit

from Plaintiff’s expertise and follow-up assistance. The Law’s strict and onerous restrictions

will lead to fewer opportunities for that guidance and assistance.

       Moreover, it is the Law itself that creates a heightened risk of disenfranchisement for

those whose voter registration forms are incomplete. Under current Tennessee law, an applicant

with an incomplete form must be contacted by election officials and given notice of the

deficiency. See Tenn. Code § 2-2-109(a). This provision protects voters who may erroneously

leave out information on their applications. But the Law creates a perverse incentive for



                                    23
 Case 3:19-cv-00385 Document 54-1 Filed 08/30/19 Page 30 of 48 PageID #: 407
organizations not to submit incomplete forms as they could be penalized for the voter’s error.

        Additionally, by treating organizations that use any paid individuals or that receive

funding for their voter registration activities differently from those organizations that use no paid

individuals and receive no such funding, the Law demonstrates it is not narrowly tailored to

serve a compelling interest. The legislative record contains no evidence that the use of any paid

workers or receipt of grants or other funding for voter registration activity changes the nature of

an organization’s work in a manner that would justify subjecting it to a host of burdensome

requirements with civil and criminal penalties attached. The Supreme Court has recognized that

there is nothing to support the idea that those paid to conduct such activity, “whose qualifications

for similar future assignments may well depend on a reputation for competence and integrity,”

are more likely to make errors, intentional or otherwise, as someone conducting the work for

their own personal reasons. See Meyer, 486 U.S. at 426. Likewise, in Project Vote, the district

court determined that there was “no rational basis for the differentiation between compensated

and uncompensated voter registration workers.” 455 F. Supp. 2d at 704; see also Cobb, 447 F.

Supp. 2d at 1336 (granting preliminary injunction against statute regulating voter registration

activity in part because it covered only non-partisan groups, reasoning that “the record in this

case does not include any salient difference between non-partisan groups and political parties”).

The Law’s unfounded distinctions among voter registration organizations illustrate its lack of

tailoring.

        A close appraisal of the Law’s provisions only raises more questions about what

legitimate government interests the Law serves. First, it is unclear what state interest is served

by requiring that a person conducting a voter registration drive follow multiple steps to register

each voter registration drive “prior to conducting” the drive. Tenn. Code § 2-2-142 (a)(1)(A)–




                                    24
 Case 3:19-cv-00385 Document 54-1 Filed 08/30/19 Page 31 of 48 PageID #: 408
(B). There is no provision in the Law that explains what the state would or could do with this

pre-registration information. Meanwhile, the pre-registration requirement’s harm to Plaintiffs is

plain. In many cases, Plaintiffs are given little advance notice to provide assistance with voter

registration and often must rely on last-minute volunteers. See, e.g., Ott Decl. ¶ 32; Mohyuddin

Decl. ¶ 17; Garner Decl. ¶ 28; Vickery Decl. ¶ 77. Requiring Plaintiffs to take multiple

burdensome steps before holding voter registration events will make it virtually impossible for

them to engage in voter registration activities without substantial advance notice.

       Second, it is similarly unclear what state interest the Law serves by prohibiting

organizations from retaining voter information from collected voter registration applications.

Tenn. Code § 2-2-142(b). This is particularly true given that registrants’ information is publicly

available under the NVRA. See 52 U.S.C. § 20507(i). Once again, while the legitimate purpose

of the Law is opaque, the harm of the Law is plain. Plaintiffs collect this information for the

purpose of engaging in further political speech with citizens by reaching out to them after they

are registered, in order to continue conversations about the importance of voting, civic

engagement, and the need for political reform. See Ott Decl. ¶ 66; Mohyuddin Decl. ¶ 24;

Garner Decl. ¶ 22; Lichtenstein Decl. ¶ 11.

       Finally, the state’s interests in the integrity of the voter registration process and voter

registration records are adequately and much more directly addressed by other provisions of

Tennessee law. In Tennessee, it is a felony to: register to vote, or even attempt to register to

vote, when ineligible, Tenn. Code § 2-19-107; make any false entry on a voter registration list,

id. § 2-19-109; advise someone to vote if they are not qualified to do so, id. § 2-19-117; or take

“any action” that has the “purpose or effect” of discouraging an eligible voter from registering to

vote, id. § 2-2-203. There is no evidence that these provisions are insufficient for these purposes




                                    25
 Case 3:19-cv-00385 Document 54-1 Filed 08/30/19 Page 32 of 48 PageID #: 409
or that the challenged provisions are necessary or even beneficial to Defendants in protecting the

integrity of the voter registration process. See, e.g., Meyer, 486 U.S. at 426–27 (holding state

failed to show that challenged procedures were necessary where pre-existing procedures were

“adequate to the task of minimizing the risk of improper conduct.”).

        Ultimately, not only is the Law not narrowly tailored to serve any compelling

government interest, it serves no purpose other than to make it prohibitively difficult for civic

organizations to assist legitimate, qualified, eligible citizens in registering to vote. As such,

Plaintiffs are likely to succeed on their First Amendment speech and association claim. 7

                   2. Plaintiffs Are Likely To Succeed on Their First Amendment Compelled
                      Speech Claim.

        The Law’s Compelled Statement Provision unconstitutionally forces Plaintiffs to add a

prominent compelled statement to every communication about voter registration status that they

make to Tennessee citizens—in every possible medium, including in-person. This requirement

that Plaintiffs carry the state’s message violates the First Amendment. The Compelled Statement

Provision, see supra Section II.B–C, fundamentally alters Plaintiffs’ political speech, without

any compelling or legitimate government interest in support. Riley v. Nat’l Fed’n of the Blind of

N.C., Inc., 487 U.S. 781, 795 (1988); see also Ott Decl. ¶ 73; Mohyuddin Decl. ¶¶ 21, 23; Garner

Decl. ¶ 49; Lichtenstein Decl. ¶ 10; Vickery Decl. ¶¶ 56–57; DeWitt Decl. ¶ 16. Along with the

criminal penalties to which Plaintiffs are exposed, the Compelled Statement Provision

impermissibly burdens political speech.

        There is no evidence that Tennessee citizens are confused about the nature of

7
  Even if the Court were to review the Law under the Anderson-Burdick framework for
regulations of the election process, there is little difference between the exacting scrutiny of
Meyer and the close scrutiny applied under Anderson-Burdick when considering regulations on
core political speech, which are necessarily severe. Buckley v. Am. Constitutional Law Found.,
525 U.S. 182, 208 (1999) (Thomas, J., concurring); see id. at 192 n.12. See infra Section III.C.5.


                                       26
    Case 3:19-cv-00385 Document 54-1 Filed 08/30/19 Page 33 of 48 PageID #: 410
community-based voter registration activity or that Plaintiffs or similar organizations have

implied that their activities carry the imprimatur of the state. Plaintiffs are community-based

organizations that are intertwined with the communities they serve, who know that the Plaintiffs

are not the Secretary of State’s office, Ott Decl. ¶ 12; Mohyuddin Decl. ¶ 23; Garner Decl. ¶ 9;

Lichtenstein Decl. ¶ 10, or are well-known national organizations with understood reputations

and reach, Ott Decl. ¶ 11; Vickery Decl. ¶ 67; DeWitt Decl. ¶ 16. Given that the compelled

statement can only serve to resolve confusion that does not exist, there is insufficient reason for

the state to co-opt the message of civic engagement organizations.

       The Compelled Statement Provision forces Plaintiffs to carry the state’s own message,

compelling Plaintiffs to speak in ways that undermine and dilute their own political speech. See

supra Section II.C.2; Ott Decl. ¶ 73; Mohyuddin Decl. ¶¶ 21, 23; Garner Decl. ¶ 49; Lichtenstein

Decl. ¶ 10; Vickery Decl. ¶¶ 56–57; DeWitt Decl. ¶ 16. Furthermore, from a practical

standpoint, including the state’s speech in their own communications takes vital space away from

Plaintiffs’ own message. Certain methods by which Plaintiffs communicate with the public,

including text messages and social media, offer limited space in which to disseminate messages,

which would be entirely overrun by the required compelled statements. See, e.g., Ott Decl. ¶ 70;

Vickery Decl. ¶ 62; DeWitt Decl. ¶ 12. For example, the League will likely be forced to drop its

planned text messaging program due to the Compelled Statement Provision. Ott Decl. ¶¶ 69–70.

Likewise, including this formal statement when having in-person conversations with other

citizens about registering to vote will fundamentally alter the tenor and nature of that speech.

See, e.g., Ott Decl. ¶ 73; Mohyuddin Decl. ¶ 23; Vickery Decl. ¶ 57.

       Nor are these compelled statement requirements narrowly tailored. “In contrast to the

prophylactic, imprecise, and unduly burdensome rule the State has adopted to reduce its alleged




                                    27
 Case 3:19-cv-00385 Document 54-1 Filed 08/30/19 Page 34 of 48 PageID #: 411
[harms], more benign and narrowly tailored options are available.” Riley, 487 U.S. at 800. For

instance, even if these disclaimers were ostensibly necessary or supported by a legitimate

interest—a claim for which the state has provided no evidence—the state could speak for itself.

See Nat’l Inst. of Family & Life Advocates v. Becerra, 138 S. Ct. 2361, 2376 (2018). Indeed, the

state controls the content on the state voter registration form used in the voter registration

activity. The Secretary of State could easily disclose on the voter registration form itself that it

has no association with third-party voter registration groups. Tennessee is the only state that

forces voter registration organizations to carry such a message. Voter registration is required in

49 states and the District of Columbia, but Tennessee is the only state that endeavors to co-opt

voter engagement organizations’ speech in this way, underscoring that this Section is not

appropriately tailored. Plaintiffs are thus likely to succeed on the merits of their First

Amendment compelled speech challenge to the Compelled Statement Provision.

                   3. Plaintiffs Are Likely To Succeed on Their First Amendment Overbreadth
                      Claim.

        The Law directly restricts Plaintiffs’ core political speech and associational conduct in

communicating their belief in the capacity of the popular will to shape the composition and

direction of the government. See supra Sections II.A, C; III.C.1. An overbreadth challenge is a

variant of a challenge under the First Amendment, which is leveled against “imprecise” laws. 8

See City of Chicago v. Morales, 527 U.S. 41, 52 (1999). In addition to allowing a litigant to

8
  The other doctrine under which imprecise laws may be attacked is a vagueness challenge under
the Due Process clause. See City of Chicago v. Morales, 527 U.S. 41, 52 (1999). Plaintiffs
challenge the Law under both. See infra Section III.C.4. That the Law is vague makes it all the
more overbroad. In conducting its overbreadth analysis, “a court should evaluate the ambiguous
as well as the unambiguous scope of the enactment.” Vill. of Hoffman Estates v. Flipside,
Hoffman Estates, Inc., 455 U.S. 489, 495 n.6 (1982). Thus, “the vagueness of a law affects
overbreadth analysis.” Id. The Supreme Court “has long recognized that ambiguous meanings
cause citizens to ‘steer far wider of the unlawful zone . . . than if the boundaries of the forbidden
areas were clearly marked.’” Id.


                                       28
    Case 3:19-cv-00385 Document 54-1 Filed 08/30/19 Page 35 of 48 PageID #: 412
advance the rights of third parties, “‘[o]verbreadth’ . . . describe[s] a challenge to a statute that in

all its applications directly restricts protected First Amendment activity and does not employ

means narrowly tailored to serve a compelling governmental interest.” Sec’y of State of Md. v.

Joseph H. Munson Co., 467 U.S. 947, 967 n.13 (1984).

           Sections 2-2-142 and 2-19-145 are unconstitutionally overbroad. First, both provisions

regulate a substantial amount of constitutionally protected expression. See United States v.

Stevens, 559 U.S. 460, 473 (2010). Second, “all [] applications” of both provisions “directly

restrict[] protected First Amendment activity,” but are not “narrowly tailored to serve a

compelling governmental interest.” Munson Co., 467 U.S. at 967 n.13; see supra Section

III.C.3.

           Laws that govern expression and expose speakers to criminal penalties, like Sections 2-2-

142 and 2-19-145, inhibit the exercise of First Amendment rights. This is because “of the risk

that ‘enforcement of an overbroad law’ may ‘deter people from engaging in constitutionally

protected speech’ and may ‘inhibit the free exchange of ideas.’” Carey v. Wolnitzek, 614 F.3d

189, 201 (6th Cir. 2010) (internal citations omitted). “[A]ny law imposing restrictions so broad

that it chills speech outside the purview of its legitimate regulatory purpose will be struck down.”

Deja Vu of Nashville, Inc. v. Metro. Gov’t of Nashville & Davidson Cty., 274 F.3d 377, 387 (6th

Cir. 2001).

           Here, the Law reaches activity that plainly falls outside any “legitimate regulatory

purpose,” by deterring Plaintiffs from communicating civic and political messages, and from

engaging in associational activity important to advancing their missions and beliefs, providing

the public with less information about how to participate in the democratic process, fewer

options to register to vote, and fewer opportunities to associate with Plaintiffs in meaningful




                                    29
 Case 3:19-cv-00385 Document 54-1 Filed 08/30/19 Page 36 of 48 PageID #: 413
civic activities. See, e.g., Ott Decl. ¶¶ 34–35, 41–43, 54, 57, 59, 66–68; Mohyuddin Decl. ¶¶ 8–

10, 12, 15, 24; Garner Decl. ¶¶ 20, 24, 33, 42–43; Lichtenstein Decl. ¶¶ 12–13, 15, 19–22;

Vickery Decl. ¶¶ 41–42, 71–72, 80. There is, for example, no legitimate regulatory purpose in

treating paid and unpaid individuals differently in the manner that the Law does. Plaintiffs are

not challenging the subsections of Section 2-2-142 that prohibit payment per form or the setting

of minimum quotas. Legitimate reasons exist to govern the method of payment, such as

discouraging the submission of false or duplicate forms by field workers simply to increase the

number of forms collected, and thus the payment received by the worker. But the use of paid

staff or reliance on grant funding does not justify treating any organization differently in such a

wide range of regulatory respects. And there is no legitimate regulatory interest in preventing

organizations from collecting information during voter registration events for the purpose of

engaging in further political speech when the information is publicly available. Plaintiffs thus

are likely to succeed on their overbreadth claim.

                   4. Plaintiffs Are Likely To Succeed on Their Due Process Vagueness Claim.

       The Law is unconstitutionally vague because it “fails to provide people of ordinary

intelligence a reasonable opportunity to understand what conduct it prohibits” and “authorizes or

even encourages arbitrary and discriminatory enforcement.” Johnson v. United States, 135 S. Ct.

2551, 2566 (2015).

       First, the Law fails to provide “people of ordinary intelligence” clarity as to what

activities over what timeframe constitute a “voter registration drive,” what it means to conduct

such a drive, and what it means to “attempt to collect” over 100 voter registration applications.

Tenn. Code § 2-2-142. For example, does each day of voter registration activity constitute a

“drive,” or a certain number of consecutive days of activities, or all the activities that an

organization conducts before a given election? Absent clear definition, Plaintiffs do not know


                                    30
 Case 3:19-cv-00385 Document 54-1 Filed 08/30/19 Page 37 of 48 PageID #: 414
which of their voter registration related activities would subject them to the complex web of

interrelated provisions of the Drives Provision and the Incomplete Forms Provision. See, e.g.,

Ott Decl. ¶¶ 25, 42; Mohyuddin Decl. ¶¶ 11–12; Garner Decl. ¶¶ 21, 33, 36; Lichtenstein Decl.

¶¶ 15–16; Vickery Decl. ¶¶ 39, 81, 85–87. While Defendants have insisted that the Law is

common sense and easy to understand, their motion to dismiss did not answer any of Plaintiffs’

questions regarding the Law’s scope or application. ECF No. 40, at 21.

       The exemptions for “individuals who are not paid” and “organizations that are not paid

. . . and that use only unpaid volunteers” are also vague because they fail to define what it means

to be “paid” and to “use only unpaid volunteers.” Testimony from the proceedings surrounding

the enactment of the Law suggested that even organizations that rely exclusively on unpaid

volunteers to conduct voter registration events would still be covered by the Law if salaried staff

members perform work in any way related to the drives (e.g., recruiting, managing, organizing,

or supervising volunteers), or if they received grants to support their voter registration work. An

organization might also potentially be covered by the Law if any salaried staff members conduct

voter registration drives—even if they are not specifically paid to do so. As a consequence,

Plaintiffs do not know if their voter registration activities are covered by the Law simply if they

have paid staff members who also work on voter registration drives in some capacity or simply if

they receive grants to support their voter registration work. See, e.g., Ott Decl. ¶¶ 25–26;

Mohyuddin Decl. ¶ 6; Garner Decl. ¶ 21.

       Various other provisions of the Law also insufficiently notify Plaintiffs of the restrictions

to which they are subject and when such restrictions apply. For example, the Law states that

prior to conducting a voter registration drive, the organization or person must “file” a sworn

statement attesting that that individual “shall obey all state laws and procedures regarding the




                                    31
 Case 3:19-cv-00385 Document 54-1 Filed 08/30/19 Page 38 of 48 PageID #: 415
registration of voters.” Tenn. Code § 2-2-142(a)(1)(D). This requirement is vague for multiple

reasons. It does not explain with whom this statement shall be filed nor does it provide any

definition of exactly what is meant by the term “registration of voters.” The tension between the

Law and other provisions of Tennessee law make it particularly risky to sign such an affidavit

under the threat of criminal sanction. See Browning II, 863 F. Supp. 2d at 1164–65 (holding

state had no interest in requiring a misleading sworn statement in context of voter registration).

Moreover, it is completely unclear if this sworn statement must be completed by an agent of the

organization or by each person participating in the voter registration drive. The Law also

requires that persons complete training on the voter registration process. Tenn. Code § 2-2-

142(a)(1)(C). The Law does not provide notice if a person must complete the undefined training

every time they participate in a voter registration event, annually, or just once.

       Likewise, the Incomplete Forms Provision does not provide sufficient guidance as to

what constitutes an incomplete application. While providing a definition of incomplete as an

application that “lacks an applicant’s name, residential address, date of birth, declaration of

eligibility, or signature,” the Law is silent as to whether incorrect information in any of these

categories renders an application incomplete. Id. § 2-2-143(b). And these required fields have

multiple sub-fields: e.g., first name, middle name, last name, street number, street name,

apartment or suite number, city, county, zip code, month, day, and year of birth, and so forth.

The Law is silent as to whether a missing subfield renders an application incomplete. This

vagueness as to the scope of completeness under the Law is particularly concerning because,

during the 2018 election cycle, certain election officials indicated that an application that was




                                    32
 Case 3:19-cv-00385 Document 54-1 Filed 08/30/19 Page 39 of 48 PageID #: 416
missing the salutation (Mr., Mrs., Ms., etc.) was considered incomplete. 9

        Additionally, the Compelled Statement Provision does not provide sufficient guidance

about what the statement must say or make clear which communications are covered. RTV, the

League, and HeadCount, for example, do not know what steps must be taken to make their

websites and other media compliant with the Law’s disclaimer requirements. See Ott Decl. ¶ 64;

Vickery Decl. ¶¶ 59–61, 63; DeWitt Decl. ¶ 10; see also Mohyuddin Decl. ¶¶ 11–12; Garner

Decl. ¶ 48.

        In context, the Law does not provide notice of what conduct it prohibits—a flaw that is

significantly compounded by the Law’s criminal penalties and its regulation of core First

Amendment speech. See Reno v. Am. Civil Liberties Union, 521 U.S. 844, 871–72 (1997). The

“increased deterrent effect” of a criminal statute “coupled with the ‘risk of discriminatory

enforcement’ of vague regulations, poses greater First Amendment concerns than those

implicated by [a] civil regulation.” Id.

        Finally, even if rulemaking could address the Law’s fatal vagueness, 10 there are at least


9
  See, e.g., Katherine Burgess, Shelby Election Commission is ‘chilling voting activity,’ say
NAACP, Black Voter Project, Memphis Commercial Appeal, Oct. 23, 2018,
https://www.commercialappeal.com/story/news/2018/10/23/lawsuit-shelby-election-
commission-voting-black-voter-project/1744954002/.
10
   It is not clear if the state officials will promulgate any rules or guidance in an attempt to clarify
the Law. Section 2-2-142 only requires that the Coordinator of Elections provide an online
training. While the Section allows that the Coordinator “may” adopt policies and procedures,
none are required. Section 2-2-143(f) also merely states that the Election Commission “may”
promulgate rules. There is no requirement in the Law that the state must promulgate rules or
procedures. Plaintiffs must not be left “at the mercy” of the government’s “noblesse oblige.”
United States v. Stevens, 559 U.S. 460, 480 (2010). The Constitution requires more than a
discretionary effort to attempt to cure a constitutionally defective statute. Courts cannot “uphold
an unconstitutional statute merely because the Government promise[s] to use it responsibly.” Id.
(citing Whitman v. Am. Trucking Ass’ns, Inc., 531 U.S. 457, 473 (2001)). Vague promises of
future action would otherwise doom Plaintiffs and other Tennessee citizens to a futile effort to
conform their conduct to a law that affords them no “reasonable opportunity to understand what
conduct it prohibits.” United States v. Johnson, 135 S. Ct. 2551, 2566 (2015).


                                       33
    Case 3:19-cv-00385 Document 54-1 Filed 08/30/19 Page 40 of 48 PageID #: 417
two reasons Defendants’ promise of such rules do not change the fact that Plaintiffs are likely to

succeed on the merits of their vagueness claim and need preliminary relief from this Court now.

First, the Compelled Statement Provision, despite its vagueness, contains no rulemaking

mechanism. See Tenn. Code § 2-19-145.

        Second, there is not enough time remaining before the Law goes into effect for any rules

to be enacted. The Law goes into effect on October 1, 2019, and the Tennessee rule-making

process takes at least 90 days. Tenn. Code § 4-5-207. Emergency rule making exists, but the

Law does not meet the requirements for it to apply. Id. § 4-5-208. To date, Defendants,

Coordinator of Elections and the State Election Commission—the two entities authorized to

make rules under the Law—have not developed such rules. And there is no indication that they

have any plans to do so. Ott Decl. ¶ 25. But even if proposed rules were issued immediately,

they would not be in effect on October 1, 2019. At this point, unless the Court issues an

injunction, Plaintiffs must attempt compliance with the Law without any guidance sufficient to

“understand what conduct” the Law prohibits, see Johnson, 135 S. Ct. at 2566.

                    5. Plaintiffs Are Likely To Succeed on Their First and Fourteenth
                       Amendment Claims that the Law Unduly Burdens the Right To Vote.

        The Law unduly burdens Plaintiffs’ First and Fourteenth Amendment rights in

connection with the right to vote. The Law also unduly burdens the voting rights of the MCLC’s

unions’ members. In evaluating these claims, courts “weigh ‘the character and magnitude of the

asserted injury’ against the ‘precise interests put forward by the State . . . taking into

consideration the extent to which those interests make it necessary to burden the plaintiff’s

rights.’” Obama for Am. v. Husted, 697 F.3d 423, 433 (6th Cir. 2012) (quoting Burdick v.

Takushi, 504 U.S. 428, 434 (1992) (quoting Anderson v. Celebrezze, 460 U.S. 780, 789 (1983))).

The burdens that the Law places on access to voter registration by frustrating voter registration



                                    34
 Case 3:19-cv-00385 Document 54-1 Filed 08/30/19 Page 41 of 48 PageID #: 418
activities and registration-related communications are severe and are not justified by any

legitimate state interest. Likewise, around 10,000 members of MCLC’s unions are not registered

to vote, and the voter registration outreach that MCLC provides to them is critical. Lichtenstein

Decl. ¶¶ 5, 13. The burden placed on this path to registration is severe, and not sufficiently

justified by any state interest. Therefore, the Law’s challenged provisions cannot survive

scrutiny under Anderson-Burdick. While certain provisions of the Law are complete outliers, 11

other provisions are similar to laws enacted by other states that have been enjoined by federal

courts. See Project Vote, 455 F. Supp. 2d at 698 (granting preliminary injunction against similar

restrictions on voter registration activity); Browning II, 863 F. Supp. 2d at 1167 (same); Cobb,

447 F. Supp. 2d at 1339–40 (same). The rights implicated by the Law “belong to—and may be

invoked by—not just the voters seeking to register, but by third parties who encourage

participation in the political process through increasing voter registration rolls.” Project Vote,

455 F. Supp. 2d at 700.

         The far-reaching and interrelated provisions of the Law impose greater burdens on

Plaintiffs and voters than any individual provision might impose on its own. The Sixth Circuit

has held that while certain “requirements may only impose a reasonable burden on constitutional

rights,” the proper analysis looks at “the combination of these laws,” which taken together can

constitute “a severe burden.” Libertarian Party of Ohio v. Blackwell, 462 F.3d 579, 595 (6th Cir.

2006); see also Libertarian Party of Ohio v. Husted, No. 2:13-cv-953, 2015 WL 12967768, at *9

(S.D. Ohio Mar. 16, 2015) (holding that the “aggregate effect” of election law requirements


11
  For example, no other state imposes a compelled statement requirement like that of Section 2-
19-145, as noted above, and no other state penalizes organizations for “incomplete” forms, a
point inexplicably touted by Defendant Goins as a feature of the Law, see Goins Testimony,
when it should have made clear the unconstitutional burdens the Law was placing on voter
engagement organizations.


                                        35
     Case 3:19-cv-00385 Document 54-1 Filed 08/30/19 Page 42 of 48 PageID #: 419
“severely burdened associational rights”); Am. Ass’n of People with Disabilities, 690 F. Supp. 2d

at 1219–20 (holding that court “must address the burdens the law poses collectively” as it cannot

“parse out” the requirements that “in the aggregate impose an undue burden on the Plaintiffs’

First Amendment rights”); Summers v. Smart, 65 F. Supp. 3d 556, 565 (N.D. Ill. 2014)

(concluding that “[i]n the aggregate,” the “challenged provisions are more than mere neutral

ballot-administration efforts”). Taken together, the web of regulations is undoubtedly a severe

burden on Plaintiffs’ protected activities. For example, the interaction of the 10-day deadline

and the penalty for the submission of incomplete forms severely burdens Plaintiffs’ rights. The

deadline hinders Plaintiffs’ ability to follow-up with registrants in an effort to cure any

incompleteness. See, e.g., Mohyuddin Decl. ¶ 12; Garner Decl. ¶ 35.

       As a restriction on core political speech, the Law “plainly impose[s] a severe burden” on

Plaintiffs’ First Amendment rights. Buckley, 525 U.S. at 192 n.12, 208. As such, there is “little

difference” between the close scrutiny of Anderson-Burdick and strict scrutiny. Id. at 208

(Thomas, J., concurring). Likewise, the Law restricts Plaintiffs’ and their members’

associational political rights, which occupy this same core protective space. See Eu v. San

Francisco Cty. Democratic Cent. Comm., 489 U.S. 214, 225 (1989) (holding that law burdening

“rights to free speech and free association . . . can only survive constitutional scrutiny if it serves

a compelling governmental interest”). Therefore, for the reasons discussed in Section III.C.1,

Plaintiffs are likely to succeed on the merits of this claim.

       Even if the burdens on Plaintiffs’ rights were considered “substantial” rather than

“severe,” the Law will still not survive this Court’s review because the state’s interests do not

make it necessary to burden Plaintiffs’ rights. Obama for Am., 697 F.3d at 433. For example,

the exemption for organizations and individuals who are “unpaid” shows that the Law—on its




                                    36
 Case 3:19-cv-00385 Document 54-1 Filed 08/30/19 Page 43 of 48 PageID #: 420
face—advances no important state interest. There is no evidence that organizations with paid

canvassers or funding to conduct voter registration activity, such as Plaintiffs, need more

training, disclosure, registration, or other procedural requirements than unpaid voter registration

workers, where the regulation is unrelated to how they are paid. If the Law’s challenged

restrictions served any important state interest, both paid and unpaid canvassers and

organizations that receive grants and those that rely upon their own funds or unpaid volunteers,

would be equally subject to their terms. Under any applicable standard of review, Plaintiffs are

likely to succeed on the merits of this claim.

       D. Plaintiffs Will Suffer Irreparable Harm Absent an Injunction.

       Plaintiffs will suffer, and already are suffering, harms to their First Amendment rights.

See supra Section II.C. “[A] violation of First Amendment rights, even for a short time, causes

irreparable harm.” Baker v. Adams Cty./Ohio Valley Sch. Bd., 310 F.3d 927, 930 (6th Cir. 2002).

Likewise, “‘[e]ven minimal infringement upon First Amendment values constitutes irreparable

injury sufficient to justify injunctive relief.’” Chabad of S. Ohio & Congregation Lubavitch v.

City of Cincinnati, 363 F.3d 427, 436 (6th Cir. 2004) (quoting Newsom v. Norris, 888 F.2d 371,

378 (6th Cir. 1989)). As there are no adequate remedies at law to cure the deprivation of First

Amendment rights, Brinkman v. Budish, 692 F. Supp. 2d 855, 866 (S.D. Ohio 2010), Plaintiffs

will suffer irreparable harm absent an injunction.

       Courts have also held that lost opportunities to register voters constitutes irreparable

harm, because “when a plaintiff loses an opportunity to register a voter, the opportunity is gone

forever.” Browning II, 863 F. Supp. 2d at 1167; see also League of Women Voters of N.C. v.

North Carolina, 769 F.3d 224, 247 (4th Cir. 2014); League of Women Voters of Mo. v. Ashcroft,

336 F. Supp. 3d 998, 1005 (W.D. Mo. 2018); Ind. State Conf. of the NAACP v. Lawson, 326 F.

Supp. 3d 646, 662–63 (S.D. Ind. 2018); Action NC v. Strach, 216 F. Supp. 3d 597, 642–43


                                    37
 Case 3:19-cv-00385 Document 54-1 Filed 08/30/19 Page 44 of 48 PageID #: 421
(M.D.N.C. 2016); Project Vote, Inc. v. Kemp, 208 F. Supp. 3d 1320, 1350 (N.D. Ga. 2016); N.C.

State Conf. of the NAACP v. N.C. State Bd. of Elections, No. 16-cv-1274, 2016 WL 6581284, at

*9 (M.D.N.C. Nov. 4, 2016). There are nine elections in Tennessee in 2019 after the effective

date of the Law, the first on November 2, 2019. 12 And the 2020 election cycle is fast

approaching, with federal offices—including President—and statewide races on the ballot in

March, August, and November 2020. 13 Without an injunction, Plaintiffs will lose opportunities

to help voters register in advance of each of these elections.

         Furthermore, MCLC’s lost opportunity to help members of its unions register to vote is

clearly an irreparable harm to those members because they are at risk of being completely

disenfranchised. Courts routinely have held that granting a preliminary injunction serves the

public interest when it helps permit “as many qualified voters to vote as possible.” Obama for

Am., 697 F.3d at 437; see also League of Women Voters of U.S. v. Newby, 838 F.3d 1, 12 (D.C.

Cir. 2016). The risk of disenfranchisement practically defines irreparable harm. See Fish v.

Kobach, 840 F.3d 710, 752 (10th Cir. 2016) (“[T]he right to vote is a constitutionally protected

fundamental right. When an alleged constitutional right is involved, most courts hold that no

further showing of irreparable injury is necessary.” (internal quotation marks and citations

omitted)); see also Charles H. Wesley Educ. Found., Inc. v. Cox, 324 F. Supp. 2d 1358, 1368

(N.D. Ga. 2004), aff’d, 408 F.3d 1349 (11th Cir. 2005) (holding that lost opportunity to register

causes irreparable harm because “no monetary award can remedy” it).

         Beyond the lost opportunities to register voters, Plaintiffs are also currently irreparably

harmed and will be harmed further starting October 1, 2019, as they are prevented from the

12
   See 2019 Elections by Date, Tenn. Sec’y of State, https://sos-tn-gov-files.tnsosfiles.com/
2019%20Local%20Elections%20by%20Date.pdf (last visited Aug. 29, 2019).
13
   See 2020 Election Calendar, Tenn. Sec’y of State, https://sos.tn.gov/products/elections/2020-
election-calendar (last visited Aug. 29, 2019).


                                        38
     Case 3:19-cv-00385 Document 54-1 Filed 08/30/19 Page 45 of 48 PageID #: 422
planning that is critical to their activities. The Law’s overbreadth and vagueness, see supra

Section III.C.3–4, make it impossible for Plaintiffs to develop plans about what voter registration

activities they can or will be able to do in the future. The League has instructed all of its local

Leagues and volunteers to continue with their typical voter registration activities through

October 1, 2019, but has been unable to provide any guidance for what activities should proceed

after that date. See Ott Decl. ¶ 61. HeadCount has existing events planned for 2019 in

Tennessee and nationally, including after October, but does not know how to comply with the

Law. Vickery Decl. ¶¶ 32, 86. With the presidential primary fast approaching on March 3,

2020, this inability to plan is impacting and will continue to impact the effectiveness of

Plaintiffs’ voter registration activities. Every day that Plaintiffs are faced with the uncertainty

caused by the Law that prevents them from effectively planning is a day before the upcoming

elections that Plaintiffs can never get back. This is an ongoing irreparable harm.

       E. Issuance of the Injunction Will Not Cause Substantial Harm to Others.

       The preliminary injunction would not cause any harm to other parties. It would merely

preserve the status quo pending determination on the merits. See Blaylock, 547 F.2d at 965. An

injunction preventing implementation of the Law would not alter the qualifications to be an

eligible voter in Tennessee, would not alter any of the robust statutes that already govern

improper voter registration, see, e.g., Tenn. Code §§ 2-19-107, 2-19-109, 2-19-117, 2-2-203, and

would only prevent the imposition of these undue burdens on civic organizations. The injunction

will not cause any harm, but simply preserve the current structure of Tennessee law.

       Moreover, the state will suffer no harm from being enjoined from enforcement because,

as the Law is likely to be found unconstitutional, see supra Section III.C, the state has no valid

interest in enforcing an unconstitutional enactment. Planned Parenthood Ass’n of Cincinnati,

Inc. v. City of Cincinnati, 822 F.2d 1390, 1400 (6th Cir. 1987).


                                    39
 Case 3:19-cv-00385 Document 54-1 Filed 08/30/19 Page 46 of 48 PageID #: 423
         F. The Public Interest Is Served by the Issuance of an Injunction.

         “[I]t is always in the public interest to prevent the violation of a party’s constitutional

rights.” G & V Lounge, Inc. v. Mich. Liquor Control Comm’n, 23 F.3d 1071, 1079 (6th Cir.

1994). As Plaintiffs are likely to succeed on their constitutional claims, see supra Section III.C,

the public interest necessarily weighs in favor of an injunction. And allowing Plaintiffs to

continue their civic work unimpeded also advances the interests of all Tennessee citizens who

are eligible to vote, as “[t]he public interest . . . favors permitting as many qualified voters to

vote as possible.” Obama for Am., 697 F.3d at 437. An injunction would not alter the existing

framework for ensuring that only qualified voters are able to register, and it would leave open a

critical path to voter registration. Ensuring this pathway particularly serves the public interest in

Tennessee, which ranks 44th in the nation in its rate of voter registration. 14

      IV.   CONCLUSION

         For the forgoing reasons, Plaintiffs respectfully request that this Court preliminarily

enjoin each of the provisions challenged by Plaintiffs, and grant all such preliminary relief that

this Court deems just and proper.

Dated: August 30, 2019                              Respectfully submitted,

                                                    /s/ Theresa J. Lee

Sophia Lin Lakin*                                   Thomas H. Castelli, BPR#024849
Theresa J. Lee*                                     Legal Director
Davin Rosborough*                                   Mandy Floyd, BPR#031123
Dale E. Ho*                                         ACLU Foundation of Tennessee
American Civil Liberties Union Foundation           P.O. Box 120160
125 Broad Street, 18th Floor                        Nashville, TN 37212
New York, NY 10004                                  Tel.: 615-320-7142
Tel.: (212) 549-2500                                tcastelli@aclu-tn.org
slakin@aclu.org                                     mfloyd@aclu-tn.org
14
  U.S. Election Assistance Comm’n, The Election Admin. & Voting Surv.: 2016
Comprehensive Rep. at 64 (NVRA Table 1: Registration History), https://www.eac.gov/assets/
1/6/2016_EAVS_Comprehensive_Report.pdf.


                                        40
     Case 3:19-cv-00385 Document 54-1 Filed 08/30/19 Page 47 of 48 PageID #: 424
tlee@aclu.org
drosborough@aclu.org                                    Danielle Lang*
dho@aclu.org                                            Molly Danahy*
                                                        Campaign Legal Center
Sarah Brannon*, **                                      1101 14th Street NW, Suite 400
American Civil Liberties Union Foundation               Washington, DC 20005
915 15th Street, 6th Floor                              Tel.: (202) 736-2200
Washington, DC 20005                                    dlang@campaignlegal.org
Tel.: (202) 544-1681                                    mdanahy@campaignlegal.org
sbrannon@aclu.org
** not admitted in DC; DC practice limited to federal   Michelle Kanter Cohen*
court only                                              Jon Sherman*
                                                        Fair Elections Center
William H. Harbison, BPR#7012                           1825 K Street NW, Suite 450
C. Dewey Branstetter, Jr. BPR#9367                      Washington, DC 20006
Hunter C. Branstetter, BPR#32004                        Tel.: (202) 331-0114
Sherrard Roe Voigt & Harbison                           mkantercohen@fairelectionscenter.org
150 3rd Avenue South, Suite 1100                        jsherman@fairelectionscenter.org
Nashville, TN 37301
Tel.: (615) 742-4200                                    Attorneys for Plaintiffs
bharbison@srvhlaw.com                                   *admitted pro hac vice
dbranstetter@srvhlaw.com
hbranstetter@srvhlaw.com




                                     41
  Case 3:19-cv-00385 Document 54-1 Filed 08/30/19 Page 48 of 48 PageID #: 425
